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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


JOSEPH A. DAOU and KAREN M. DAOU,

                                Plaintiffs,

                    -against-
                                                Case No. 1:20-cv-04438 (DLC)
BLC BANK, S.A.L.; CREDIT LIBANAIS, S.A.L.;
AL-MAWARID BANK, S.A.L.; and BANQUE
DU LIBAN,

                                Defendants.




       MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS OF
                        AM BANK S.A.L.




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November 20, 2020
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                                     PRELIMINARY STATEMENT

        In the midst of an unprecedented financial crisis in Lebanon 1, and after learning that their

two other Lebanese banks 2 would not transfer their funds to them in the United States due to crisis-

limits on U.S. dollar transactions 3, Plaintiffs tried to change their luck by moving their funds in

December 2019 to new accounts at AM Bank S.A.L. (“AM Bank” or “the Bank”). 4 These

circumstances alone negate any plausible allegation that Plaintiffs reasonably expected AM Bank

would wire-transfer Plaintiffs’ funds to them in the United States when Plaintiffs’ other Lebanese

banks would not. Any such expectation was further negated by the terms of Plaintiffs’ account

agreements with AM Bank, which expressly acknowledged the Bank’s right to decline, at its sole

discretion, any particular type of transaction. Still, when Plaintiffs requested a check for nearly all

of their funds—including Plaintiffs’ deposit with AM Bank, plus interest—the Bank issued them

a check for the full amount requested, payable in Lebanon and drawn on the Bank’s account at

Lebanon’s Central Bank (the BDL). Despite Plaintiffs’ amendment of their original allegations,

it remains clear that AM Bank cannot be liable when it lived up to both the terms of its agreement

with Plaintiffs and every reasonable expectation Plaintiffs could have had in these circumstances.

        Plaintiffs’ claims nonetheless do not belong in this Court. Their agreements with AM Bank

contain a mandatory forum selection clause requiring Plaintiffs to litigate their claims against the

Bank exclusively in the courts of Beirut. Plaintiffs’ claims against AM Bank accordingly should be

dismissed for forum non conveniens. Additionally, AM Bank is not subject to either general or




1
  See First Amended Complaint (ECF #50) (“Amended Complaint” or “Am. Compl.”), ¶¶ 261, 371 (alleging that the
crisis “was deepening” in November 2019, and “took hold in 2019 and continued in 2020.”).
2
  See id. ¶¶ 111, 115, 207, 211 (alleging Plaintiffs’ accounts and deposits at two other Lebanese banks since 2016).
3
  See id. ¶¶ 36, 147, 154, 258 (in response to the crisis, Lebanese banks, in consultation with the Lebanese central
bank, Defendant Banque du Liban (“BDL”), have imposed restrictions on cash withdrawals of U.S. dollars from
Lebanese banks and restrictions on transfers of dollars outside of Lebanon).
4
  The Amended Complaint identifies AM Bank by its former name, “Al-Mawarid Bank, S.A.L.”


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specific jurisdiction in this action, because it does not generally do business in New York 5 and did

not transact any business here from which Plaintiffs’ claims arise. 6 Forum non conveniens, however,

pretermits any need to resolve the jurisdictional issue; the Amended Complaint does not even

acknowledge Plaintiffs’ contractual obligation to litigate in the courts of Lebanon.

         If this case remains in this Court contrary to Plaintiffs’ forum-selection agreement with

AM Bank and the lack of jurisdiction over the Bank, then the Amended Complaint should be

dismissed pursuant to Fed. R. Civ. P. 12(b)(6) because:

         •    Plaintiffs fail to allege their claims under Lebanese law, as their agreement with AM
              Bank necessitates.

         •    Plaintiffs’ agreements with AM Bank, which are properly before this Court given the
              breach of contract claim, confirm that the Bank acted entirely in accordance with the
              contracts. Moreover, Plaintiffs have failed to plausibly allege damages. As Plaintiffs
              acknowledge, Joseph Daou deposited a check with AM Bank in Lebanon, and the Bank,
              at Plaintiffs’ request, has issued Plaintiffs a check in full satisfaction of their deposit,
              payable at any bank in Lebanon. Plaintiffs’ funds remain in their AM Bank account.

         •    The conversion, unjust enrichment, and promissory estoppel claims (tenth, eleventh,
              and twelfth causes of action) are barred because the relationship between the parties is
              governed by contracts, and Plaintiffs’ quasi-contractual claims merely re-allege the
              same facts and the same alleged injury as the breach of contract claim.

         •    Plaintiffs’ fraud claim (and their RICO claim, to the extent it is predicated on alleged
              fraudulent activity) must be dismissed because it is based on the same alleged facts as
              the breach of contract claim; is not pled with the specificity required under Fed. R. Civ.
              P. 9(b); and does not plausibly allege causation or damages.

         •    Plaintiffs’ fifth and sixth causes of action, pled under common law and Florida law
              respectively, essentially allege the issuance of bad checks. These claims must be
              dismissed because Plaintiffs have not demonstrated that forum law or Florida law
              applies to a check issued in Lebanon and payable only in Lebanon, nor that the Bank
              issued a bad check, rather than a valid check payable in Lebanon.


5
  AM Bank is a Lebanese bank headquartered in Beirut. Id. ¶ 65; see also the Declaration of Youssef Hanna El Khoury
(previously filed in this action at ECF #41-2) (“El Khoury Declaration” or “El Khoury Decl.”), ¶¶ 5-6.
6
  While AM Bank maintains a correspondent bank account with Bank of New York Mellon in New York (Am. Compl.
¶ 304), the law in this circuit is clear that “‘mere maintenance’ of a correspondent bank account in New York does not
suffice to establish personal jurisdiction there.” Licci v. Lebanese Canadian Bank, 673 F.3d 50, 65 (2d Cir. 2012); see
id. at 65 n.13 (collecting cases). As shown in the El-Khoury Declaration (¶¶ 34, 44, 54), the few transactions through
Plaintiffs’ AM Bank accounts were all processed within Lebanon, not through the Bank’s New York correspondent bank.


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         •    Plaintiffs’ conspiracy claims must be dismissed because Plaintiffs do not plausibly
              allege an agreement by AM Bank to commit an unlawful act that harmed the Plaintiffs.

         •    Plaintiffs fail to allege standing, causation, and other elements required for a RICO claim.

                                           STATEMENT OF FACTS 7

         Plaintiffs are U.S. citizens and residents of Florida. Am. Compl. ¶¶ 61-62. Since 2016, long

before opening accounts at AM Bank, Plaintiffs maintained U.S. dollar-denominated accounts at two

other Lebanese banks, Defendants BLC Bank (“BLC”) and Credit Libanais (“CL”). See id. ¶¶ 111,

115, 207, 211. “AM Bank is a Lebanese bank with its headquarters located in the Yared Building,

6th Floor, Abdel Aziz Street, Hamra, 1103-2110, Beirut, Lebanon. AM Bank is a Lebanese joint

stock company, and a citizen of Lebanon.” Id. ¶ 65. AM Bank S.A.L. was established in Lebanon

in 1980, and was formerly known as Al-Mawarid Bank. El Khoury Decl. ¶ 5.

         Lebanon, and particularly the Lebanese banking industry, is in the midst of an

unprecedented economic and fiscal crisis. As alleged in the Amended Complaint, Plaintiffs were

very much aware of the crisis as it unfolded. As early as February 6, 2019, Joseph Daou asked a

CL employee about “rumors … that depositors of Lebanese banks were having difficulty

withdrawing USD cash”. Am. Compl. ¶ 229. In April 2019, Daou discussed with CL employees



7
   The facts are taken from the Amended Complaint and the El Khoury Declaration. Facts taken from the Amended
Complaint are assumed to be true solely for the purpose of this Rule 12 motion. The El Khoury Declaration properly
provides facts outside the Amended Complaint on the forum non conveniens and jurisdictional issues. See Erausquin v.
Notz, Stucki Mgmt. (Berm.), 806 F. Supp. 2d 712, 724 (S.D.N.Y. 2011) (“In deciding a forum non conveniens challenge,
a court may rely on evidence outside the pleadings, including affidavits.”) (citing Alcoa S.S. Co. v. M/V Nordic Regent,
654 F.2d 147, 158 (2d Cir. 1980) (en banc) (“it is the well established practice in the Southern District of New York to
decide such motions on affidavits.”)); Reliance First Capital, LLC v. Mid Am. Mortg., Inc., No. 18-cv-3528, 2019 U.S.
Dist. LEXIS 100901, at *2, *17 (E.D.N.Y. June 17, 2019) (“A motion to dismiss pursuant to Rule 12(b)(2) . . . is inherently
a matter requiring the resolution of factual issues outside of the pleadings. Therefore all pertinent documentation submitted
by the parties may be considered in deciding the motion.”) (internal quotations and citations omitted); Peschmann v.
BlogTalkRadio, Inc., No. 15 Civ. 9504, 2017 U.S. Dist. LEXIS 156694, at *15 (S.D.N.Y. Sept. 22, 2017) (“[C]ourts are
authorized to rely on affidavits [and declarations] submitted by the parties in deciding a Rule 12(b)(2) motion to dismiss.”)
(internal quotations and citation omitted, alterations in original). The Court need not accept as true jurisdictional
allegations in the Amended Complaint that are contradicted by affidavit evidence. See Tannerite Sports, LLC v.
NBCUniversal Media LLC, 135 F. Supp. 3d 219, 228 (S.D.N.Y. 2015) (“[W]hen a defendant rebuts plaintiffs’
unsupported allegations with direct, highly specific, testimonial evidence regarding a fact essential to jurisdiction—and
plaintiffs do not counter that evidence—the allegation may be deemed refuted.”) (internal quotation and citation omitted).


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the potential lowering of depositors’ interest rates, including Plaintiffs’, based on instructions from

“BDL and the Lebanese Association of Banks”. Id. ¶¶ 231-33. On October 29, 2019, a BLC

employee told Daou that “the Lebanese banks, including BLC Bank, were closed” due to the crisis.

Id. ¶ 141. And on November 11, 2019, Plaintiffs allege, “Joseph Daou learned the news of a

nationwide strike by bank tellers who were refusing to work without better security given the civil

unrest in Lebanon as the banking crisis was deepening.” Id. ¶ 261.

       In particular, Plaintiffs admit that they were aware in the fall of 2019 that Lebanese banks had

imposed restrictions on transfers of U.S. dollars out of Lebanon. In October 2019, Daou asked a CL

employee whether “the rumors of wire transfers outside of Lebanon being prohibited were true.” Id.

¶ 242. Then, on November 7, 2019, Daou and a CL employee “discussed the informal constraints on

cash withdrawals being reported in the press,” and the employee “conceded to Joseph Daou that CL

Bank was indeed restraining cash withdrawals.” Id. ¶ 258. On November 7 and November 8, a BLC

employee told Daou that BLC was refusing to execute a wire transfer of Plaintiffs’ dollars to the

United States “at the direction of BLC Bank’s Board.” Id. ¶¶ 147, 154. On November 8, Plaintiffs

allege, a BLC employee advised Daou that the restriction on transfers of dollars outside Lebanon

“was being carried out through an informal agreement among the banks.” Id. ¶ 158.

       For months in the fall of 2019, Plaintiffs allegedly instructed BLC and CL to send wire

transfers to the United States, and those banks declined to do so. See id. ¶¶ 128-173, 243-279.

       Before December 2019, Plaintiffs were not customers of AM Bank and had no relationship

with AM Bank. See id. ¶¶ 306-07, 312 (“Plaintiffs had not previously done business with AM

Bank”). Yet, as Plaintiffs allege, they were well aware of the ongoing Lebanese financial crisis and

that the crisis had led Lebanese banks, by “informal agreement,” to place restrictions on dollar-




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denominated transfers out of Lebanon, id. ¶ 158. Plaintiffs themselves had unsuccessfully sought to

transfer their funds on deposit with BLC and CL to the United States. See id. ¶¶ 128-173, 243-279.

         Then, Plaintiffs allege, on December 2, 2019, AM Bank employee Youssef El Khoury

“solicited Joseph Daou to deposit USD with AM Bank.” Id. ¶ 307. The next day, December 3,

2019, Daou, “while physically present in Lebanon, opened a bank account at AM Bank through

its branch in Jounieh.” Id. ¶ 312; El Khoury Decl. ¶ 15. The account that Joseph Daou opened at

AM Bank on December 3, 2019, is referred to herein as the “Daou-Gerges Account.” Plaintiffs

also allege that in December 2019, they opened a second account, a joint account for the Plaintiffs

(the “Daou Plaintiffs’ Account”). Am. Compl. ¶¶ 316-17.

         Consistent with AM Bank’s policies and procedures, while Joseph Daou was at AM Bank’s

Jounieh branch on December 3, 2019, he was provided with and signed one General Agreement

for the Daou-Gerges Account and one General Agreement for the Daou Plaintiffs’ Account. El

Khoury Decl. ¶ 19. 8 Plaintiff Karen Daou also signed the General Agreement related to the Daou

Plaintiffs’ Account. Id. Copies of the General Agreements, with translations, are attached to the

El Khoury Decl. at Exhibits 2 and 3 (ECF 41-4, 41-5). Article 68 of the General Agreements

provides, in relevant part, that “Beirut courts alone have jurisdiction to consider all cases or

disputes raised by” the customer (here, Plaintiffs) against the Bank. El Khoury Decl. ¶ 20.




8
  The Court can consider the contracts and checks discussed herein in deciding AM Bank’s Rule 12(b)(6) motion,
because those documents are referenced either directly or by implication in, and are integral to, the Amended
Complaint. “When reviewing a motion to dismiss, a court may consider documents attached to the pleadings, as well
as documents outside the pleadings ‘that are integral or relied upon by the plaintiff in preparing the pleadings.’” Wolff
v. Rare Medium, Inc., 210 F. Supp. 2d 490, 494 (S.D.N.Y. 2002), aff’d, 65 F. App’x 736 (2d Cir. 2003) (quoting
Goldin-Feldman Co., Inc. v. Blum & Fink, Inc., No. 99 Civ. 11637, 2000 U.S. LEXIS 11928, at *6 (S.D.N.Y. Aug.
18, 2000)). “Therefore, this court may consider a document not expressly incorporated by reference in a complaint
without converting a 12(b)(6) motion into a motion for summary judgment where the document is ‘integral to the
complaint.’” Druyan v. Jagger, 508 F. Supp. 2d 228, 236 (S.D.N.Y. 2007) (quoting Chambers v. Time Warner, Inc.,
282 F.3d 147, 153 (2d Cir. 2002)). Here, the contracts between the parties, the check Plaintiffs deposited into the
Daou-Gerges Account in December 2019, and the check AM Bank issued to Plaintiffs in March 2020 are all integral
to the Amended Complaint and Plaintiffs’ claims.


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       The same day that Joseph Daou opened the Daou-Gerges Account, he deposited

$5,735,928.67 into the account. Am. Compl. ¶ 313. The deposit was made via check drawn on

CL’s account with the BDL. El Khoury Decl. ¶ 29 and Exhibit 5 (ECF 41-7).

       In addition to formulating and implementing monetary and banking policies in Lebanon,

the BDL operates a payment system that performs U.S. Dollar clearing functions for transfers

between Lebanese banks, including check clearing, inter-bank transfers, and personal money

transfers. Id. ¶ 30. All banks operating in Lebanon, including BLC, CL, and AM Bank, are

required to participate in the BDL’s payment system. Id. Dollar-denominated transfers between

an account-holder at AM Bank and an account-holder at another Lebanese bank, such as a check

drawn on another Lebanese bank for payment into an AM Bank account-holder’s account, are

settled through the BDL’s payment system. Id. ¶ 33. Given that AM Bank, CL, and the BDL are

all participants in the BDL’s payment system, the check that Joseph Daou used to fund the Daou-

Gerges Account on December 3, 2019, was cleared through the BDL’s payment system, and was

not processed through AM Bank’s U.S. correspondent bank, Bank of New York Mellon. Id. ¶ 34.

       In January and February 2020, Joseph Daou requested that AM Bank initiate a wire transfer

of Plaintiffs’ dollars to the United States. See, e.g., Am. Compl. ¶¶ 319, 323, 327, 330, 332. AM

Bank responded that “due to the external wire transfers restrictions in Lebanon,” AM Bank would

not initiate a wire transfer of dollars to the United States, because “all the external transfers are

restricted for the time being.” Id. ¶¶ 324, 328.

       On February 25, 2020, Plaintiffs requested that their funds be transferred from the Daou-

Gerges Account to the Daou Plaintiffs’ Account. Id. ¶ 334. AM Bank complied with this request

and transferred the funds to the Daou Plaintiffs’ Account. Id. As set forth in the El Khoury Decl.,

AM Bank clears and settles dollar-denominated transfers from one AM Bank account-holder to




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another on the Bank’s own books. Id. ¶ 31-32. The transfer of Plaintiffs’ funds from the Daou-

Gerges Account to the Daou Plaintiffs’ Account was between two accounts at AM Bank;

accordingly, this transfer was settled on the books of AM Bank, and was not processed through

AM Bank’s correspondent account at Bank of New York Mellon. Id. ¶ 44.

       On March 4, 2020, Joseph Daou requested that AM Bank issue Plaintiffs a bank check

drawn on the BDL. Am. Compl. ¶ 337. On March 7, pursuant to those instructions, AM Bank

issued a check drawn on the BDL, and payable to Plaintiffs, in the amount of $5,811,500. Id.

¶ 338; El Khoury Decl. ¶ 48. The check was delivered to Plaintiffs’ representative, who was

physically present in Lebanon. Am. Compl. ¶ 338. A copy of the check is attached to the El

Khoury Decl. at Exhibit 6 (ECF 41-8). The check clearly stated on its face that it was drawn on

the BDL, that it was payable in “BEIRUT,” and that it was “To be cleared in Lebanon.” El Khoury

Decl. ¶ 49. Plaintiffs allege that they then attempted to deposit the check with a bank in the United

States, and that it was returned and not paid. Am. Compl. ¶¶ 340-41.

                                          ARGUMENT

I.     THE PARTIES’ MANDATORY FORUM SELECTION AGREEMENT REQUIRES
       DISMISSAL UNDER THE DOCTRINE OF FORUM NON CONVENIENS.

       The General Agreements that govern the relationship between the Plaintiffs and AM Bank

contain mandatory forum selection clauses that require the Plaintiffs to bring any claims against

the Bank exclusively in the courts of Beirut, Lebanon. El Khoury Decl. ¶ 20. Specifically, Article

68 of the General Agreements provides that “Beirut courts alone have jurisdiction to consider all

cases or disputes raised by” the customer (here, Plaintiffs) against the Bank. Id. This requires the

dismissal of all of Plaintiffs’ claims against AM Bank pursuant to the doctrine of forum non

conveniens. See Atlantic Marine Constr. Co. v. U.S. Dist. Court, 571 U.S. 49, 60 (2013) (holding

that “the appropriate way to enforce a forum-selection clause pointing to a … foreign forum is



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through the doctrine of forum non conveniens”); Du Quenoy v. Am. Univ. of Beirut, No. 19-3182,

2020 U.S. App. LEXIS 31436, at *2 (2d Cir. Oct. 2, 2020) (summary order) (same); Martinez v.

Bloomberg LP, 740 F.3d 211, 216 (2d Cir. 2014) (same).

       Courts in this circuit have consistently recognized that there is “a strong federal public

policy supporting the enforcement of forum selection clauses.” Martinez, 740 F.3d at 219 (citing

Atlantic Marine); see Magi XXI, Inc. v. Stato della Citta del Vaticano, 714 F.3d 714, 722 (2d Cir.

2013) (holding that forum selection clauses “further vital interests of the justice system, including

judicial economy and efficiency, ensure that parties will not be required to defend lawsuits in far-

flung fora, and promote uniformity of result.”) (internal quotations, alterations, and citations

omitted); Mercury West A.G., Inc. v. R.J. Reynolds Tobacco Co., No. 03-cv-5262, 2004 U.S. Dist.

LEXIS 3508, at *8 (S.D.N.Y. Mar. 5, 2004) (“[T]he Second Circuit has developed a policy of

honoring forum selection clauses.”); Lazare Kaplan Int’l, Inc. v. KBC Bank N.V., 337 F. Supp. 3d

274, 293 (S.D.N.Y. 2018) (“New York has a strong public policy of enforcing forum selection

clauses so that parties are able to rely on the terms of the contracts they make.”) (citation omitted).

“Courts, including the Court of Appeals for the Second Circuit, have recognized that a party may

not maintain a suit in federal court when it has committed to litigate claims against its contract

counterparty in another jurisdiction, such as the courts of a particular state or foreign nation.”

Giordano v. UBS, AG, 134 F. Supp. 3d 697, 701-02 (S.D.N.Y. 2015) (citing Martinez, 740 F.3d at

219). Accordingly, as this Court has held, “‘[w]hen the parties have agreed to a valid forum-

selection clause, a district court should ordinarily transfer the case to the forum specified in that

clause’ unless ‘extraordinary circumstances unrelated to the convenience of the parties’ exist.”

McLarty Capital P’ship SBIC, L.P. v. Brazda, No. 18-cv-2599 (DLC), 2018 U.S. Dist. LEXIS

103615, at *5 (S.D.N.Y. June 20, 2018) (quoting Atlantic Marine, 571 U.S. at 62).




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       “[F]orum-selection clauses ‘are prima facie valid and should be enforced’ absent

extraordinary circumstances.” Giordano, 134 F. Supp. 3d at 702 (quoting M/S Bremen v. Zapata Off-

Shore Co., 407 U.S. 1, 10 (1972)). “In Atlantic Marine, the Supreme Court reconfirmed this principle

and explained that ‘a valid forum-selection clause [should be] given controlling weight in all but the

most exceptional cases.’” Id. (quoting Atlantic Marine, 571 U.S. at 63 (alteration in original, internal

quotation omitted)); Du Quenoy, 2020 U.S. App. LEXIS 31436, at *2 (same). This is because a forum

selection clause “‘represents the parties’ agreement as to the most proper forum.’” Atlantic Marine,

571 U.S. at 63 (quoting Stewart Organization, Inc. v. Ricoh Corp., 487 U.S. 22, 31 (1988)). And

“[w]hen parties have contracted in advance to litigate disputes in a particular forum, courts should not

unnecessarily disrupt the parties’ settled expectations.” Atlantic Marine, 571 U.S. at 66.

       “Courts in the Second Circuit ‘employ a four-part analysis’ in determining whether to

‘dismiss[] a claim based on a forum selection clause.’” Giordano, 134 F. Supp. 3d at 702 (quoting

Martinez, 740 F.3d at 217) (alteration in original); Phillips v. Audio Active Ltd., 494 F.3d 378, 383

(2d Cir. 2007). The four parts of the analysis are:

       (1) whether the clause was reasonably communicated to the party resisting
       enforcement; (2) whether the clause is mandatory or permissive, i.e., . . . whether
       the parties are required to bring any dispute to the designated forum or simply
       permitted to do so; and (3) whether the claims and parties involved in the suit are
       subject to the forum selection clause. If the forum clause was communicated to the
       resisting party, has mandatory force and covers the claims and parties involved in
       the dispute, it is presumptively enforceable. A party can overcome this
       presumption only by (4) making a sufficiently strong showing that enforcement
       would be unreasonable or unjust, or that the clause was invalid for such reasons as
       fraud or overreaching.

Martinez, 740 F.3d at 217 (quoting Phillips, 494 F.3d at 383-84 (internal quotations and citations

omitted)); Du Quenoy, 2020 U.S. App. LEXIS 31436, at *2-*3. This analysis, applied to the forum

selection clause in the General Agreements, requires dismissal of Plaintiffs’ claims against AM Bank.




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        A forum selection clause “‘is reasonably communicated if it is phrased in clear and

unambiguous language.’” Lazare Kaplan Int’l, 337 F. Supp. 3d at 290 (quoting Magi XXI Inc. v.

Stato della Citta del Vaticano, 818 F. Supp. 2d 597, 604-05 (E.D.N.Y. 2011)). Where, as here,

the forum selection clause is plainly stated in the parties’ contract, this factor is satisfied. “Absent

substantive unconscionability or fraud of a type not alleged here, parties are charged with knowing

and understanding the contents of documents they knowingly sign.” Horvath v. Banco Comercial

Portugues, S.A., 461 F. App’x 61, 63 (2d Cir. 2012) (clause was reasonably communicated despite

plaintiff’s claim that it appeared in separate “terms and conditions” document he did not receive

and was written in a language he did not understand). The forum selection clause is plainly stated

within the General Agreements in clear and unambiguous language.

        The forum selection clause also satisfies the second factor because it is phrased in

mandatory, rather than permissive language: “Beirut courts alone have jurisdiction” to litigate

Plaintiffs’ claims. El Khoury Decl. ¶ 20 (emphasis added).

        The forum selection clause also satisfies the third factor because it encompasses all of the

Plaintiffs’ claims against the Bank. The clause explicitly states that “all cases or disputes raised

by” Plaintiffs against the Bank must be brought in Beirut. Id. (emphasis added). This broad

language encompasses both contract and tort claims. See, e.g., Lurie v. Norwegian Cruise Lines,

Ltd., 305 F. Supp. 2d 352, 363 (S.D.N.Y. 2004) (holding that it is “well settled that forum selection

clauses may encompass claims beyond breach of the contract containing the clause, including tort

claims.”); Korean Press Agency, Inc. v. Yonhap New Agency, 421 F. Supp. 2d 775, 781 (S.D.N.Y.

2006) (holding that forum selection clause covering “any disputes [that] arise between ‘A’ and

‘B’” encompassed tort claims because the clause was “significantly broader than clauses in similar

cases which were found to encompass more than just contractual claims”). The Second Circuit




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has held that a forum selection clause extends to tort claims between the parties if those claims

“ultimately depend on the existence of a contractual relationship between the signatory parties.”

BMW of N. Am. LLC v. M/V Courage, 254 F. Supp. 3d 591, 597 (S.D.N.Y. 2017) (citing Magi

XXI, 714 F.3d at 724) (internal quotation marks omitted); Korean Press Agency, 421 F. Supp. 2d

at 781 (same). “Put another way, ‘[c]ontract-related tort claims involving the same operative facts

as a parallel claim for breach of contract should be heard in the forum selected by the contracting

parties.’” BMW of N. Am., 254 F. Supp. 3d at 597 (quoting Magi XXI, 714 F.3d at 724-25).

       Here, Plaintiffs’ claims against the Bank all arise from the banking relationship between

Plaintiffs and the Bank, which is governed by the General Agreements containing the broad,

mandatory forum selection clause. Accordingly, all of Plaintiffs’ claims are subject to the clause.

       Finally, Plaintiffs cannot show that enforcement of the parties’ agreed-upon forum

selection clause would be unreasonable or unjust, or that the clause is otherwise invalid. “These

exceptions” to enforceability “are ‘interpreted narrowly.’” Du Quenoy, 2020 U.S. App. LEXIS

31436, at *3 (quoting S.K.I. Beer Corp. v. Baltika Brewery, 612 F.3d 705, 711 (2d Cir. 2010)).

       With respect to the “unreasonable or unjust” language, it is important to note that while a

court engaging in a forum non conveniens analysis typically weighs both public and private-

interest factors, where the parties have a valid forum selection clause, the court “should not

consider arguments about the parties’ private interests.” Atlantic Marine, 571 U.S. at 64. Instead,

the court “must deem the private-interest factors to weigh entirely in favor of the preselected

forum.” Id. “As a consequence, a district court may consider arguments about public-interest

factors only”—and because public policy favors enforcement of forum selection clauses, “a valid

forum-selection clause should be given controlling weight in all but the most exceptional cases.”

Id. at 63-64 (internal quotation and alteration omitted); see also Du Quenoy, 2020 U.S. App.




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LEXIS 31436, at *5-*6 (Second Circuit holding that forum selection clause in favor of Lebanon

was enforceable and that plaintiff’s claim that “various difficulties of litigating in Lebanon . . . will

effectively deprive him of his day in court” was “unavailing”).

        The following “public interest” factors may be relevant to a forum non conveniens analysis:

(1) “the administrative difficulties flowing from court congestion”; (2) “the local interest in having

localized controversies decided at home”; (3) “the interest in having the trial of a diversity case in

a forum that is at home with the law that must govern the action”; (4) “the avoidance of

unnecessary problems in conflict of laws, or in the application of foreign law”; and (5) “the

unfairness of burdening citizens in an unrelated forum with jury duty.” Piper Aircraft Co. v.

Reyno, 454 U.S. 235, 241 n.6 (1981) (internal quotations and citation omitted).

        Here, these factors favor enforcement of the parties’ forum selection clause. Plaintiffs’

claims against AM Bank are centered in Lebanon, and bear no relationship to New York. AM

Bank is a Lebanese bank headquartered in Beirut; Plaintiffs’ accounts were opened, and Joseph

Daou executed the General Agreements, while Daou was physically present in Lebanon; and the

claims relate to banks operating in the context of the ongoing Lebanese financial crisis. Lebanon

has a strong interest in regulating its banks and litigating claims related to the crisis. Thus, factors

(2) and (5) favor litigating these claims in Lebanon. As discussed below, Lebanese law governs

Plaintiffs’ claims, and therefore factors (3) and (4) also favor Lebanon. Finally, given that this

case bears no relationship to New York, there is no reason for the Court to add to court congestion

here by declining to enforce the parties’ forum selection clause.

        The Amended Complaint includes no new allegations relating to the forum selection

clauses in the parties’ General Agreements. Those clauses should be enforced, and Plaintiffs’




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Amended Complaint as against AM Bank should be dismissed in its entirety pursuant to the

doctrine of forum non conveniens.

II.    PLAINTIFFS’ ALLEGATIONS DO NOT STATE A PRIMA FACIE CASE FOR
       GENERAL OR SPECIFIC PERSONAL JURISDICTION OVER AM BANK.

       On a Rule 12(b)(2) motion to dismiss, the “plaintiff has the burden of making a prima facie

showing that personal jurisdiction over the defendant exists.” In re Terrorist Attacks on Sept. 11,

2001, 295 F. Supp. 3d 416, 424 (S.D.N.Y. 2018) (citation omitted), rev’d and remanded on other

grounds sub nom., Underwriting Members of Lloyd’s Syndicate 2 v. Al Rajhi Bank, 779 F. App’x 66

(2d Cir. 2019); see Penguin Grp. (USA) Inc. v. Am. Buddha, 609 F.3d 30, 34-35 (2d Cir. 2010); Licci

v. Lebanese Canadian Bank, SAL, 732 F.3d 161, 167 (2d Cir. 2013) (citation omitted). The

Amended Complaint “‘must include an averment of facts that, if credited by the ultimate trier of fact,

would suffice to establish jurisdiction over the defendant.’” SPV OSUS, Ltd. v. UBS AG, 882 F.3d

333, 342 (2d Cir. 2018) (quoting Chloe v. Queen Bee of Beverly Hills, LLC, 616 F.3d 158, 163 (2d

Cir. 2010); Licci v. Lebanese Canadian Bank, 673 F.3d 50, 59 (2d Cir. 2012) (same). “A prima facie

case requires non-conclusory fact-specific allegations or evidence showing that activity that

constitutes the basis of jurisdiction has taken place.” Chirag v. MT Marida Marguerite Schiffahrts,

604 F. App’x 16, 19 (2d Cir. 2015) (citing Jazini by Jazini v. Nissan Motor Co., Ltd., 148 F.3d 181,

185 (2d Cir. 1998) (rejecting jurisdictional allegations lacking “supporting facts” and “factual

specificity”)). On a Rule 12(b)(2) motion, “the court is neither required to draw argumentative

inferences in the plaintiff’s favor, nor must it accept as true a legal conclusion couched as a factual

allegation.” In re Terrorist Attacks, 295 F. Supp. 3d at 424 (citations and quotations omitted).

       Here, Plaintiffs allege that Defendants are subject to personal jurisdiction pursuant to CPLR

§ 301 and § 302(a)(1). Am. Compl. ¶¶ 71-72. However, the Court may only exercise jurisdiction

over the Bank consistent with due process and “‘traditional notions of fair play and substantial



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justice’ under the circumstances of the particular case.” Waldman v. PLO, 835 F.3d 317, 331 (2d

Cir. 2016) (quoting Daimler AG v. Bauman, 571 U.S. 117, 126 (2014)); Johnson v. UBS AG, 791 F.

App’x 240, 242 (2d Cir. 2019) (summary order); see Daimler, 571 U.S. at 126-27. Under these

standards, despite filing an Amended Complaint, Plaintiffs have failed to make a prima facie case

for either general or specific personal jurisdiction over AM Bank, requiring dismissal.

                       AM Bank is a Lebanese Bank with No U.S. Operations.

       As Plaintiffs concede, AM Bank is “a Lebanese bank with its headquarters located in …

Beirut, Lebanon” and is “a citizen of Lebanon.” Am. Compl. ¶ 65. As a commercial bank

headquartered in Beirut, Lebanon, AM Bank is regulated by the BDL, the regulator for all banks

in Lebanon. El Khoury Decl. ¶ 7. The Bank is not incorporated, licensed, registered as a foreign

corporation, or otherwise authorized to conduct business anywhere in the United States. Id. ¶ 55.

It does not have a branch, office, subsidiary, agency, or other regular place of business anywhere

in the United States. Id. ¶ 56. It does not own, lease, or occupy any real property in the United

States. Id. ¶ 57. It has no employees, directors, or officers in the United States. Id. ¶ 58.

                       There is No General Jurisdiction over AM Bank Because AM Bank Is
                       Not “Essentially at Home” in the United States.

       As Plaintiffs appear to acknowledge, this Court does not have general jurisdiction over AM

Bank. General jurisdiction is limited to circumstances where a defendant’s contacts with the forum

are so “constant and pervasive” that it is “essentially at home in the forum State.” Daimler, 571

U.S. at 122 (citation omitted); Waldman, 835 F.3d at 331. As the Second Circuit recently

reaffirmed, “[b]ecause general jurisdiction is not related to the events giving rise to the suit, courts

impose a more stringent minimum contacts test, requiring the plaintiff to demonstrate the

defendant’s continuous and systematic general business contacts.” SPV OSUS, Ltd., 882 F.3d at

343 (citation omitted).



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                       Plaintiffs Do Not Establish Specific Jurisdiction over AM Bank.

        When determining whether specific jurisdiction exists over a defendant consistent with

constitutional due process, courts consider “the relationship among the defendant, the forum, and the

litigation.” Walden v. Fiore, 571 U.S. 277, 287 (2014) (citations omitted); In re del Valle Ruiz, 939

F.3d 520, 528 (2d Cir. 2019) (same). The Second Circuit has confirmed that to establish specific

jurisdiction, a plaintiff must plausibly allege facts showing that “the defendants’ suit-related conduct

. . . creates a substantial connection with the forum State,” Waldman, 835 F.3d at 335 (emphasis

added); see, e.g., Hau Yin To v. HSBC Holdings, PLC, 700 F. App’x 66, 67 (2d Cir. 2017) (“To

establish personal jurisdiction under § 302(a)(1), the defendant must have transacted business within

the state and the claim asserted must arise from that business activity.”) (citation omitted). When

the defendant is a bank, and jurisdiction is predicated on alleged financial transfers through the

United States, a plaintiff must show not only the defendant’s “selection and repeated use of New

York’s banking system” during the relevant period, but also that the defendant made financial

transfers through U.S. banks that served “as an instrument for accomplishing the alleged wrongs for

which the plaintiffs seek redress,” Licci, 732 F.3d at 171.

        The Licci test does not allow for specific jurisdiction over AM Bank because AM Bank did

not make any use of the New York (or other U.S.) banking system related to the Plaintiffs’ accounts.

Plaintiffs allege that the Bank maintains a correspondent account at Bank of New York Mellon in

New York. Am. Compl. ¶ 304. However, “‘mere maintenance’ of a correspondent bank account in

New York does not suffice to establish personal jurisdiction there.” Licci, 673 F.3d at 65; see id. at

65 n.13 (collecting cases); Hau Yin To, 700 F. App’x at 67 (holding that “the mere maintenance of

correspondent bank accounts at an affiliate bank in New York” does not give rise to personal

jurisdiction) (citation omitted). Plaintiffs do not and could not plausibly allege that AM Bank

processed any transactions through the United States related to the Plaintiffs’ accounts—and the El


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Khoury Declaration confirms that it did not. Specifically, the only deposits or withdrawals on

Plaintiffs’ AM Bank accounts at any time are Plaintiffs’ initial deposit of the check into the Daou-

Gerges Account on December 3, 2019, and the transfer from the Daou-Gerges Account to the Daou

Plaintiffs’ Account on February 25, 2020. El Khoury Decl. ¶¶ 37, 51-52. The check was cleared in

Lebanon through the BDL’s payment system, and the transfer was settled on AM Bank’s own books.

Id. ¶¶ 29, 33-35, 43-44. Accordingly, neither transaction was processed through AM Bank’s New

York correspondent bank. Id. ¶¶ 34, 44, 54.

       Plaintiffs also allege that “[o]n December 2, 2019, El-Khoury solicited Joseph Daou to

deposit USD with AM Bank.” Am. Compl. ¶ 307. This allegation cannot create specific

jurisdiction over the Bank. First, there is no allegation that Joseph Daou was in the United States

when this “solicitation” took place. Moreover, “mere solicitation of business within the state does

not constitute the transaction of business within the state absent some other New York-directed

activities.” Siverls-Dunham v. Seung Huen Lee, No. 05 Civ. 7518, 2006 U.S. Dist. LEXIS 82927,

at *34 (S.D.N.Y. Nov. 13, 2006) (internal quotations and citation omitted).

       Allegations in the Amended Complaint that the Bank communicated with Plaintiffs while

they were in the United States cannot support specific jurisdiction, because those alleged

communications post-dated when Plaintiffs opened their Bank accounts.                 Those alleged

communications all concern Plaintiffs’ efforts to do business with a Lebanese bank in Lebanon, not

any effort by AM Bank to do banking business with Plaintiffs in the United States. Further, Plaintiffs

claim injury from the loss of the funds they deposited with AM Bank. Specific jurisdiction requires

a causal-connection between a defendant’s in-forum contacts and the plaintiff’s injury. See Chew v.

Dietrich, 143 F.3d 24, 29 (2d Cir. 1998); In re LIBOR-Based Fin. Instruments Antitrust Litig., No.

11 MDL 2262, 2015 U.S. Dist. LEXIS 147561, at *157-58 (S.D.N.Y. Oct. 19, 2015). Contacts




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occurring after Plaintiffs had already deposited those funds cannot be causally related to their injury,

and cannot give rise to specific jurisdiction over the Bank. See Woo v. City of New York, No. 93

Civ. 7007, 1996 U.S. Dist. LEXIS 11689, at *20 (S.D.N.Y. 1996) (“conduct after an injury cannot

be the proximate cause of the same injury”) (quotation and citation omitted).

III.    PLAINTIFFS FAIL TO ASSERT THEIR CLAIMS UNDER LEBANESE LAW,
        WHICH REQUIRES DISMISSAL OF THOSE CLAIMS.

        Where, as here, the parties have agreed to a forum selection clause mandating that disputes

be litigated exclusively in one jurisdiction (here, Lebanon), that also reflects an implicit selection

of Lebanese law to apply to the dispute. See, e.g., Caribbean Wholesales & Serv. Corp. v. US JVC

Corp., 855 F. Supp. 627, 629 (S.D.N.Y. 1994) (“By agreeing to litigate their dispute in a particular

forum, parties implicitly agree to the application of the forum’s law -- or more accurately, to the

application of the forum’s choice of law rules since these rules may in turn direct the application

of another forum’s substantive law.”); M/S Bremen v. Zapata Off-Shore Co., 407 U.S. 1, 13 n.15

(1972) (“It is . . . reasonable to conclude that the forum clause was also an effort to obtain certainty

as to the applicable substantive law.”); Roby v. Corporation of Lloyd’s, 996 F.2d 1353, 1360 (2d

Cir. 1993) (“It defies reason to suggest that a plaintiff may circumvent forum selection and

arbitration clauses merely by stating claims under laws not recognized by the forum selected in

the agreement. A plaintiff simply would have to allege violations of his country’s . . . law in order

to render nugatory any forum selection clause that implicitly or explicitly required the application

of the law of another jurisdiction.”).

        Even aside from the forum selection clause, New York choice-of-law rules provide that “[t]he

law of the jurisdiction having the greatest interest in the litigation will be applied.” Licci v. Lebanese

Canadian Bank, 739 F.3d 45, 48 (2d Cir. 2013) (quoting Schultz v. Boy Scouts of Am., Inc., 65 N.Y.2d

189, 197 (1985)). This is “a flexible approach intended to give controlling effect to the law of the



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jurisdiction which, because of its relationship or contact with the occurrence or the parties, has the

greatest concern with the specific issue raised in the litigation.” Id. (citation and internal quotation

omitted). Where, as here, the choice-of-law analysis is applied to “conduct-regulating rules that

people use as a guide to governing their primary conduct,” “the law of the jurisdiction where the

[alleged wrongful acts] occurred will generally apply because that jurisdiction has the greatest interest

in regulating behavior within its borders.” Id. at 49 (citation and internal quotation omitted).

        Here, Lebanon has the greatest interest in this litigation. Lebanon has a strong interest in

litigating claims against Lebanese banks and the BDL. Plaintiffs’ contracts with AM Bank were

signed in Lebanon, and those contracts contain numerous references to Lebanese law. Joseph

Daou arranged to open Plaintiffs’ AM Bank accounts while he was present in Lebanon, and

deposited a check with the Bank while in Lebanon. All of the transactions relating to Plaintiffs’

accounts with AM Bank were processed entirely within Lebanon, not New York. And all of AM

Bank’s allegedly wrongful conduct occurred in Lebanon. Accordingly, Lebanon is the jurisdiction

with the greatest interest in this action, and Lebanese law should apply to Plaintiffs’ claims.

IV.     PLAINTIFFS FAIL TO STATE A CAUSE OF ACTION, REQUIRING DISMISSAL
        PURSUANT TO FED. R. CIV. P. 12(b)(6).

        Independent of the mandatory and exclusive forum selection clause in the contracts

between Plaintiffs and the Bank, the insurmountable lack of personal jurisdiction, and their failure

to allege Lebanese law, Plaintiffs’ claims are legally insufficient to establish a claim, despite

Plaintiffs’ amendment of their pleading and even crediting their allegations for Rule 12(b)(6)

purposes. “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim

has facial plausibility when the plaintiff pleads factual content that allows the court to draw the



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reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at

678 (citation omitted). Under Rule 12(b)(6), the court may consider only well-pled factual

allegations, Mastafa v. Chevron Corp., 770 F.3d 170, 177 (2d Cir. 2014), and must ignore “legal

conclusions” and “[t]hreadbare recitals of the elements of a cause of action, supported by mere

conclusory statements,” Iqbal, 556 U.S. at 678 (citation omitted).

                       Plaintiffs Fail to State a Claim for Breach of Contract.

       Plaintiffs’ breach of contract claim must be dismissed because, despite amending their

pleading, the Plaintiffs do not plausibly allege a breach of any provision of their contracts with the

Bank. As an initial matter, the Amended Complaint does not identify any contracts between the

Plaintiffs and the Bank, let alone the specific provisions of any contract that AM Bank is alleged to

have breached. Second, the plain language of the General Agreements and other contracts between

the Plaintiffs and the Bank make clear that the Plaintiffs have not plausibly alleged any breach.

       To assert a breach of contract claim, “a plaintiff must identify the specific provision of the

contract that was breached as a result of the acts at issue.” Wolff, 210 F. Supp. 2d at 494-95 (citation

omitted) (noting dismissal of complaint where “Plaintiffs had asserted that they had the right” to

engage in certain transactions and that defendant “breached the contract by not authorizing” the

transactions, but where the complaint “failed to provide . . . notice of the specific contractual

provision allegedly breached”). Plaintiffs have not identified any provisions of any of their contracts

with AM Bank that AM Bank purportedly breached. This alone requires dismissal of this claim.

       Indeed, the General Agreements make clear that the Bank is not obligated to perform any

transaction requested by the Plaintiffs, such as a transfer of Plaintiffs’ funds to the United States.

See El Khoury Decl. ¶¶ 21-25. Rather, under Lebanese law, where a customer deposits funds with

a bank, the bank’s only obligation is to return the value of the deposit in one or more payments, in

the place where the initial agreement between the bank and the customer was executed—here,


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Lebanon. See the Declaration of Malek Arslan (previously filed in this action at ECF #41-9)

(“Arslan Decl.”), ¶¶ 15-17 (citing Article 307 of the Lebanese Code of Commerce and Article 764

of the Lebanese Code of Obligations and Contracts).

        The Plaintiffs’ sole deposit of funds with AM Bank was in the form of a check, drawn on

CL’s account at the BDL and payable in Lebanon. Those funds were deposited into the Daou-Gerges

Account in December 2019. In February 2020, at Plaintiffs’ request, AM Bank transferred those

funds to the Daou Plaintiffs’ Account, where they remain today. See Am. Compl. ¶ 52 (admitting

that AM Bank has “credited Plaintiffs’ account”). The Plaintiffs are free to receive their funds in the

same manner they deposited them with the Bank—in Lebanon, by check payable in Lebanon or by

transfer to an account at any Lebanese bank. Indeed, the Bank has already provided Plaintiffs with

this opportunity by providing Plaintiffs with a check for the full amount of their deposit plus interest.

But the Bank is not obligated to provide those funds to Plaintiffs in the United States, and Plaintiffs

have not identified any Lebanese law or any contract provision that would require the Bank to do so.

                       Plaintiffs Fail to State Claims for Unjust Enrichment, Conversion, or
                       Promissory Estoppel.

        Plaintiffs have not plausibly alleged that causes of action for unjust enrichment, conversion,

or promissory estoppel exist under Lebanese law. See Arslan Decl. ¶¶ 20-22. Even under New York

law, these claims would fail because the Plaintiffs and the Bank are parties to valid contracts, and

the only injury Plaintiffs allege arises out of the alleged breach of those contracts.

        “[A] valid and enforceable contract precludes recovery in quasi-contract for all matters

covered by the contract.” Bd. of Trustees v. BNY Mellon, N.A., No. 11-CV-6345, 2012 U.S. Dist.

LEXIS 132724, at *17 (S.D.N.Y. Sept. 10, 2012) (citation omitted). “For a cause of action in

conversion to lie, the duty breached must spring from circumstances extraneous to the contract;

wrongfully withholding money pursuant to a contractual relationship constitutes a breach of the



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contractual relationship, not conversion.” Kante v. All Taxi, 958 N.Y.S.2d 61, 61 (N.Y. App. Div. 2d

Dep’t 2010). “A promissory estoppel claim is duplicative of a breach of contract claim unless the

plaintiff alleges that the defendant had a duty independent from any arising out of the contract.” Harte

v. Ocwen Fin. Corp., No. 13-CV-5410, 2014 U.S. Dist. LEXIS 132611, at *33 (E.D.N.Y. Sept. 19,

2014) (citation omitted); see Kosher Provisions, Inc. v. Blue & White Food Prods. Corp., No. CV-

04-361, 2005 U.S. Dist. LEXIS 48333, at *11-12 (E.D.N.Y. Aug. 9, 2005) (“A party may recover

under a promissory estoppel claim only in the absence of an enforceable contract.”) (citation omitted).

Here, Plaintiffs’ quasi-contract claims improperly are based on the same facts and the same

purported obligations that are governed by Plaintiffs’ contracts with the Bank.

                       Plaintiffs Fail to State a Claim for Fraud.

        Plaintiffs’ fraud claim must be dismissed for multiple reasons. First, as with the quasi-contract

claims, this claim is based on the same allegations as Plaintiffs’ contract claim. “It is axiomatic that

a plaintiff cannot plead a fraud claim based on the same facts that underlie her breach of contract

claim unless she (i) demonstrates a legal duty separate from the duty to perform under the contract;

(ii) demonstrates a fraudulent misrepresentation collateral or extraneous to the contract; or (iii) seeks

special damages that are caused by the misrepresentation and unrecoverable as contract damages.”

Druyan, 508 F. Supp. 2d at 239 (citations omitted). Plaintiffs have not plausibly done so here.

        Second, Plaintiffs have not alleged any fraudulent statements with the specificity required.

“Claims for fraud must be pled with ‘particularity.’” Negrete v. Citibank, N.A., 759 F. App’x 42, 47

(2d Cir. 2019) (citing Fed. R. Civ. P. 9(b)). “That ordinarily requires a complaint alleging fraud to

(1) specify the statements that the plaintiff contends were fraudulent, (2) identify the speaker, (3) state

where and when the statements were made, and (4) explain why the statements were fraudulent.” Id.

Plaintiffs have not plausibly alleged any statements by AM Bank that meet these requirements.




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        Third, Plaintiffs have not plausibly alleged causation or damages with respect to their fraud

claim. Plaintiffs’ only deposit with AM Bank was by check drawn on CL’s account at the BDL on

December 3, 2019. Plaintiffs have not plausibly alleged any fraudulent statements by AM Bank that

caused Plaintiffs to make that deposit. Further, Plaintiffs acknowledge that the funds they deposited

with AM Bank remain in their account. The only “injury” they claim is that AM Bank has not

transferred those funds to the United States. But Plaintiffs have not plausibly alleged that they are

entitled to receive those funds in the United States or that, absent any alleged fraudulent statements,

Plaintiffs would have been able to transfer those funds to the United States. Indeed, Plaintiffs

acknowledge that, before they ever opened their AM Bank accounts, Plaintiffs were well aware of

the Lebanese financial crisis and the resulting restrictions on transfers of dollars outside of Lebanon.9

                         Plaintiffs’ “Bad Check” Claims Must Be Dismissed.

        Plaintiffs’ fifth and sixth causes of action, pled under common law and Florida law

respectively, essentially allege that AM Bank issued the Plaintiffs bad checks. First, Plaintiffs have

failed to allege their “dishonored check” claim under Lebanese law. Nor have Plaintiffs established

that Florida law or U.S. common law applies extraterritorially to a check issued in Lebanon, by a

Lebanese bank, drawn on the BDL, and payable only in Lebanon. As explained in Section III supra,

Lebanese law applies to Plaintiffs’ claims, including claims involving the check AM Bank issued to

Plaintiffs in Lebanon, payable in Lebanon. Second, regardless of what law applies, these claims

must be dismissed because Plaintiffs have not plausibly alleged that the Bank issued a “bad” or


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   Even if Plaintiffs could plausibly allege any fraudulent statements by AM Bank with the requisite specificity—
which they have not and could not—Plaintiffs’ fraud claim would still fail because, given Plaintiffs’ admitted
awareness of the Lebanese financial and banking crisis and their repeated and unsuccessful attempts to obtain U.S.
funds transfers at their two predecessor Lebanese banks, Plaintiffs could not plausibly allege that they reasonably
relied on any purported representations by a third Lebanese bank, AM Bank, that they would be able to obtain on-
demand transfers to the United States of any dollars they subsequently deposited with the Bank. See, e.g., Ortiz v.
CIOX Health LLC, No. 17cv4039 (DLC), 2018 U.S. Dist. LEXIS 29010, at *12 (S.D.N.Y. Feb. 22, 2018) (dismissing
fraud claim where “conclusory statement” in amended complaint “fail[ed] to plead reasonable reliance on a false
statement of the defendants.”).


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“dishonored” check. Rather, Plaintiffs’ own allegations confirm that AM Bank issued a check

payable in Lebanon, drawn on AM Bank’s account at the BDL—in Lebanon—that would provide

Plaintiffs with the funds from their Bank account—in Lebanon, where Plaintiffs originally deposited

their funds with AM Bank. See Am. Compl. ¶ 20 (checks “could not be deposited anywhere outside

of Lebanon, including in the United States”); id. ¶ 386. The check stated on its face that it was

payable in “BEIRUT,” and that it was “[t]o be cleared in Lebanon.” El Khoury Decl. ¶ 49.

Accordingly, even if the check constituted a contract enforceable on its own terms, Plaintiffs have

not plausibly alleged that the Bank issued an invalid check intended for clearance in Florida. Rather,

AM Bank issued a check that, on its face, is valid and intended for clearance only in Lebanon.

       Moreover, Fla. Stat. 68.065(3)(a) limits actions to checks where payment is refused “because

of lack of funds, lack of credit, or lack of an account, or where the maker or drawer stops payment

on the instrument with intent to defraud”. Here, Plaintiffs admit that AM Bank is a “large creditor[]

of BDL, having deposited billions of USD with BDL” and that “BDL allows the banks to issue

cashier’s checks” drawn on their BDL accounts. Am. Compl. ¶ 42. By Plaintiffs’ own admission,

therefore, payment on the check was not refused “because of lack of funds, lack of credit, or lack of

an account,” nor was it stopped by AM Bank at all. Rather, payment was refused by BDL because

Plaintiffs presented it in the United States, when the check is payable only in Lebanon.

                      Plaintiffs’ Conspiracy Claim Must Be Dismissed.

       “New York does not recognize an independent tort of conspiracy.” Kirch v. Liberty Media

Corp., 449 F.3d 388, 401 (2d Cir. 2006) (citation omitted); see Crigger v. Fahnestock & Co., 443

F.3d 230, 237 (2d Cir. 2006) (“Under New York law, civil conspiracy to commit fraud, standing

alone, is not actionable . . . if the underlying independent tort has not been adequately pleaded.”)

(citation and quotation omitted). “[T]he crux of a conspiracy is a collective criminal agreement—

[a] partnership in crime.” Ocasio v. United States, 136 S. Ct. 1423, 1441 (2016) (internal quotation


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and citation omitted). Plaintiffs’ conspiracy claim fails because Plaintiffs have not plausibly alleged

that AM Bank agreed with anyone to commit a wrongful act. As noted above, the Bank is not

required, either by Lebanese law or by Plaintiffs’ contracts with the Bank, to accede to Plaintiffs’

requests for transfers of dollars outside of Lebanon. In addition, to the extent Plaintiffs allege that

the Defendants agreed to make “fraudulent misrepresentations” to Plaintiffs, these allegations fail

for the same lack of particularity and lack of damages as discussed above regarding Plaintiffs’ fraud

claim. Indeed, to the extent Plaintiffs do allege the “conspiracy” with any specificity, it is that

Plaintiffs allegedly sought to transfer their funds back to the United States in September 2019, only

to be “confronted by the conspiracy within the Lebanese banking system,” Am. Compl. ¶¶ 347-48.

But Plaintiffs did not even open their accounts with AM Bank until December 2019. To the extent

Plaintiffs’ non-specific and conclusory allegations can be credited, they indicate that AM Bank was

not part of any conspiracy that injured Plaintiffs. Plaintiffs’ conspiracy claim must be dismissed.

                       Plaintiffs’ RICO Claims Must Be Dismissed. 10

        Plaintiffs’ RICO claims, plead under 18 U.S.C. §§ 1962(c) and 1962(d), must be dismissed.

First, Plaintiffs have not alleged an injury “by reason of” any RICO violation by AM Bank. To have

standing to bring a RICO claim, a plaintiff must plead (1) the defendant’s violation of § 1962, (2)

injury, and (3) causation of the injury by the defendant’s violation. Levine v. Torino Jewelers, Ltd.,

05 CIV. 3159 (DLC), 2006 U.S. Dist. LEXIS 11932, at *8 (S.D.N.Y. Mar. 22, 2006) (“The causation

requirement of RICO standing is satisfied if the defendant’s injurious conduct is both the factual and

the proximate cause of the injury alleged.”) (citation and internal quotations omitted); see

FindTheBest.com, Inc. v. Lumen View Tech. LLC, 20 F. Supp. 3d 451, 458 (S.D.N.Y. 2014) (Cote,

J.) (plaintiff must show that RICO violation was both proximate and but-for cause of his injury).


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   AM Bank summarizes herein arguments specific to the Bank, and otherwise adopts the arguments regarding
Plaintiffs’ RICO claims made by the other Defendants, which have equal application to AM Bank.


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Here, Plaintiffs’ only deposit with the Bank was on December 3, 2019, by check drawn on an account

at the BDL. Am. Compl. ¶ 313; El Khoury Decl. Exhibit 5 (ECF 41-7). Plaintiffs do not allege that

AM Bank engaged in any purported RICO violations prior to Plaintiffs’ deposit, and any alleged

RICO violations subsequent to the deposit could not have been the proximate or but-for cause of

Plaintiffs’ alleged injury. Moreover, in March 2020, the Bank provided Plaintiffs with a check

drawn on the Bank’s account at the BDL, in the full amount Plaintiffs requested (an amount larger

than Plaintiffs’ deposit with the Bank). Am. Compl. ¶¶ 337-38; El Khoury Decl. Exhibit 6 (ECF 41-

8). Plaintiffs have suffered no injury, and thus lack standing.

        Second, for the reasons set forth above in Section IV(C), Plaintiffs have failed to plausibly

allege fraud claims against the Bank, and thus the RICO claims, which are predicated on alleged

mail and wire fraud, must also be dismissed. See, e.g., Spool v. World Child Intern. Adoption

Agency, 520 F.3d 178, 185 (2d Cir. 2008) (RICO claims based on fraud must be plead with

specificity).

        Third, Plaintiffs have not plausibly alleged a RICO “enterprise” or that the Bank played a

role in directing the affairs of such an “enterprise.” See Guzman v. Hecht, No. 18-cv-3947 (DLC),

2019 U.S. Dist. LEXIS 48193, *12-13 (S.D.N.Y. Mar. 22, 2019) (“In order to participate . . . in

the conduct of [an] enterprise’s affairs, . . . one must have some part in directing those affairs.”)

(citation and quotations omitted).

        Finally, because Plaintiffs’ substantive RICO claim against the Bank must be dismissed,

the RICO conspiracy claim must also fail. See, e.g., FindTheBest.com, Inc., 20 F. Supp. 3d at 461

(“Because [plaintiff] has not adequately pled a RICO claim … [plaintiff’s] conspiracy claim fails

as well.”). The RICO conspiracy claim also must be dismissed because, as discussed supra,

Plaintiffs have failed to plausibly allege that AM Bank engaged in a conspiracy.




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                                   CONCLUSION

     The Amended Complaint should be dismissed as against AM Bank with prejudice.


Dated: November 20, 2020               Respectfully submitted,
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